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                       UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF CONNECTICUT

     - - - - - - - - - - - - - - - - x
                                     :
     UNITED STATES OF AMERICA        :        No. 3:18CR90(JAM)
                                     :
                v.                   :
                                     :
     JOSHUA AMARAL,                  :
                                     :        New Haven, Connecticut
                       Defendant     :        May 1, 2019
                                     :
     - - - - - - - - - - - - - - - - x


                                 SENTENCING


           BEFORE:

              THE HONORABLE JEFFREY ALKER MEYER, U.S.D.J.



     A P P E A R A N C E S:


           FOR THE GOVERNMENT:

                OFFICE OF THE UNITED STATES ATTORNEY
                     450 Main Street
                     Hartford, Connecticut 06103
                BY: BRIAN P. LEAMING, AUSA


           FOR THE DEFENDANT:

                FROST BUSSERT, LLC
                     129 Church Street, Suite 226
                     New Haven, Connecticut 06510
                BY: ROBERT M. FROST, JR., ESQ.




                                           Diana Huntington, RDR, CRR
                                           Official Court Reporter
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1                                10:48 A.M.

2                THE COURT:    We're here today for sentencing in

3    the matter of United States of America v. Joshua Amaral.

4                Appearance of counsel, please, for government.

5                MR. LEAMING:    Good morning, Your Honor.         Brian

6    Leaming on behalf of the United States.

7                MR. FROST:    Good morning, Your Honor.          Attorney

8    Bob Frost for Mr. Amaral who is seated to my left.

9                THE COURT:    Mr. Amaral, are you doing okay

10   today, sir?

11               THE DEFENDANT:     Yes, Your Honor.

12               THE COURT:    I gather you had a little trouble

13   getting here, a little delay?

14               THE DEFENDANT:     A little delay.

15               THE COURT:    But everything's fine?

16               THE DEFENDANT:     Yes.

17               THE COURT:    Back on February 5, 2019, Mr. Amaral

18   appeared before the Court for purposes of entering a plea

19   of guilty to two charges.       The first was a charge of

20   conspiracy to use and carry a firearm in relation to a

21   drug-trafficking offense, that was Count Three of the

22   indictment.    The second was to a lesser included offense

23   of Count Four of the indictment which was possession of a

24   firearm during and in relation to a drug-trafficking

25   offense.
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1                So Mr. Amaral, what I'm going to cover today is

2    essentially I'm going to go through some pretty technical

3    matters with the parties, with counsel mostly but a little

4    bit with you.

5                After I'm done with that, Mr. Frost will have an

6    opportunity to speak on your behalf.         You're welcome, if

7    you'd like to, to say anything that you'd want me to know.

8                And then I'll hear from Mr. Leaming on behalf of

9    the government.

10               Mr. Frost, if you have anything to say in

11   response to Mr. Leaming, of course, feel free to do so

12   before I turn to the imposition of sentence.

13               I gather, Mr. Leaming, and I know you had been

14   through related sentencing proceedings, you've been in

15   touch with the victim representatives and it doesn't look

16   like they're here today?

17               MR. LEAMING:    Correct, Your Honor.

18               I've spoken to Victim 2 as has our victim

19   witness coordinator.      I've lost contact with Victim 1.       I

20   asked Victim 2 if he could attempt to track down Victim 1;

21   he was unsuccessful.      Victim 2 was advised of the dates,

22   not only this case but upcoming, although one of them has

23   recently changed, but he's not indicated any inclination

24   to be here.

25               THE COURT:    I understand that.     Appreciate your
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1    efforts in that respect.

2                In terms of what I've looked at on the docket,

3    it's essentially everything that's been filed on the

4    docket.    That principally includes the parties' plea

5    agreement, the indictment, the Presentence Report, and

6    also the addendum to the Presentence Report, financial

7    statement, the parties' respective sentencing memoranda.

8                Anything else the parties think I should have

9    seen?

10               MR. FROST:    Your Honor, we had submitted I think

11   to Probation --

12               THE COURT:    Was there a letter?

13               MR. FROST:    Two letters.

14               THE COURT:    I'd like to see those.      We have a

15   different probation officer with us today.          Do you have

16   those?

17               MR. FROST:    Yes.   They're not lengthy,

18   Your Honor.

19               THE COURT:    Could you hand them up?

20               MR. FROST:    Yes.

21               THE COURT:    It sounded like, from your

22   submission, you wished these remain under seal.

23               MR. FROST:    Yes, Your Honor.     We have a letter

24   from Mr. Amaral's mother and his significant other.

25               THE COURT:    Ms. Vasquez?
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1                MR. FROST:    Yes.

2                THE COURT:    I'll take a moment to look at these.

3                      (Pause.)

4                THE COURT:    I've reviewed both of those letters.

5    I'll order those to be filed under seal or maybe I'll give

6    it to our probation officer, Ms. Meghan Nagy, who is here

7    on behalf of Ms. Megan Chester who wrote the Presentence

8    Report and ask that that be filed as a second addendum to

9    the Presentence Report.

10               MR. FROST:    Thank you, Your Honor.

11               THE COURT:    So Mr. Amaral, have you read the

12   Presentence Report and also there was an addendum to the

13   Presentence Report?

14               THE DEFENDANT:     Yes, Your Honor.

15               THE COURT:    Have you discussed them with

16   Mr. Frost?

17               THE DEFENDANT:     Yes.

18               THE COURT:    At this point in time do the parties

19   have any remaining factual objections to the Presentence

20   Report --

21               MR. LEAMING:     Not from the government,

22   Your Honor.

23               THE COURT:    -- that you think the Court needs to

24   resolve?

25               MR. FROST:    No, Your Honor.
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1                There were I think two open issues indicated in

2    Ms. Chester's response to my letter.         One was related to

3    some disciplinary tickets that it seemed there was a

4    dispute whether those were resolved through an appeal

5    process with the prison.       The other was an objection that

6    I had made to some juvenile --

7                THE COURT:    To looking at that information.

8                MR. FROST:    I don't think that we're pressing

9    those.

10               THE COURT:    I say that the juvenile information

11   I think is -- I would overrule that objection if there

12   were one.

13               On the tickets issue, I'd like to hear a little

14   bit more about what happened there.        That's part of a

15   concern in my mind in terms of -- well, it's been those

16   two incidents, I think they were back in October of 2018

17   when they occurred.

18               MR. FROST:    Correct, Your Honor.

19               THE COURT:    But I know that in prior

20   incarceration periods there have been it looks like

21   numerous violations or numerous ticket issues.          I would be

22   interested in hearing a little bit about that if you care

23   to address that at the appropriate time.

24               And it looks to me just on the front page of the

25   PSR, it looks like -- should it be changed to say for
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1    Count Four, should it be -- it says now use and carrying

2    of a firearm.     I really understood the plea to be to

3    possession of a firearm in relation to in furtherance,

4    basically a lesser included offense, wasn't it, that the

5    plea -- is there a need for changing that?

6                MR. LEAMING:    I think technically he entered a

7    guilty plea to the lesser included, yes.         I think he was

8    originally charged in the indictment with brandishing and

9    the plea was to the possession.

10               THE COURT:    All right.    If there's no concern

11   there on any party's behalf, we'll leave the Presentence

12   Report as it is.

13               MR. FROST:    I don't think that that needs to be

14   changed, Your Honor.      I think we covered that in the plea

15   colloquy.

16               THE COURT:    That should be clear enough.

17               MR. FROST:    Yes.

18               THE COURT:    Okay, great.

19               So I'll adopt the Presentence Report's factual

20   statements therefore without objection otherwise to the

21   extent I haven't already addressed any objections.

22               In terms of the Presentence Report's Sentencing

23   Guidelines calculations -- you're welcome to be seated if

24   you'd like -- the final offense level is 21.          It's a

25   Criminal History Category of V.        I believe that that
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1    would, according to the Presentence Report's calculations

2    and the Probation Office's position that the sentences

3    should run consecutively, that would suggest a 70- to

4    87-month sentence on Count Three, that's the conspiracy

5    count, and that would be followed by a consecutive term of

6    60 months, the minimum required, on Count Four, that's the

7    possession count.     I understand the parties have

8    essentially agreed, pursuant to Fernandez, and urge me

9    pursuant to Fernandez, to depart downwards to an overall

10   range of 70 to 87 months.       That's certainly my intention

11   to do that, not to consider a range that would be higher

12   than that, but to keep consistent with what the parties'

13   agreements were and they discussed at length with the

14   Court during the course of the guilty plea hearing.          The

15   supervised release period would be between two to five

16   years.   And the criminal fine range recommendation would

17   be $15,000 up to the maximum of $150,000.         I don't think

18   that there's a restitution request.        And there's a $200

19   special assessment.

20               So does that sound like the right guidelines?

21               MR. LEAMING:    Yes, Your Honor.

22               MR. FROST:    Yes, Your Honor.

23               THE COURT:    Okay.   So I'll adopt those

24   guidelines as well.

25               Mr. Amaral, whenever the Court imposes a
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1    sentence -- and I know you have not been in the federal

2    system before, I am sure Mr. Frost would have told you

3    that federal probation and supervision is somewhat

4    different, there's more resources for it than what you may

5    have been used to in prior times.        Part of the Presentence

6    Report talks about various what are called special

7    conditions of supervised release.        These would be

8    conditions that apply following any term of imprisonment

9    that could be imposed.       Paragraph 121 specifies those.

10   And I wonder, I just want to see -- my intent would be to

11   impose those conditions, but Mr. Frost, I just want to

12   make sure that you or Mr. Amaral don't have a concern

13   about those specific conditions, special conditions of

14   Paragraph 121.     Take a moment, if you can, to look at

15   those.

16                     (Pause.)

17               THE DEFENDANT:     I have no issues with the

18   conditions, Your Honor.

19               THE COURT:    Okay.   So basically those conditions

20   are essentially not to communicate or interact with

21   members that you know to be from the Latin Kings and

22   participate in educational/vocational programs as well as

23   inpatient or outpatient substance abuse treatment, and of

24   course not to possess a weapon, and to be subject to a

25   search by the Probation Office based upon reasonable
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 1    suspicion.    Okay.   I intend to adopt those conditions,

 2    then, as part of the conditions of supervised release.

 3               Let's see here.     I think that's it in terms of

 4    the technical matters.

 5               I know, Mr. Frost, that you talk in your

 6    sentencing memo about issues of receiving credit for the

 7    time that Mr. Amaral has been subject to incarceration I

 8    think since September 15 of 2017 when he was arrested.            Is

 9    there any concern there?      It strikes me that the Bureau of

10    Prisons would pretty much automatically credit that.          Is

11    there anything that I can make of record, because it would

12    be my intention that the sentence I impose would run from

13    September 15, 2017, as it appears it's exactly the same

14    conduct.

15               MR. FROST:    I suppose it can't hurt for the

16    Court to indicate that on the record.        It's my

17    understanding, given what has occurred with respect to the

18    state charges, that by statute the jail credit should run

19    back to September, especially since it's also included in

20    the Presentence Report.

21               THE COURT:    I will say that.     I'll also put that

22    in the judgment that the sentence runs from the date of

23    September 15, 2017.

24               MR. FROST:    Thank you, Your Honor.

25               THE COURT:    That's it, I think, in terms of
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 1    technical matters.

 2                Mr. Frost.

 3                MR. FROST:    Thank you, Your Honor.

 4                The Court, as you indicated at the outset in

 5    this proceeding, has read a lot of information we've

 6    already submitted.     I'm going to try not to repeat myself

 7    with respect to that and give Mr. Amaral an opportunity

 8    after I sit down to address the Court directly.

 9                I will say he was working on -- we talked about

10    the idea of having him address the Court directly.           And we

11    did anticipate and plan to have something submitted in

12    writing beforehand.      They had some lockdown issues at

13    Cheshire with some delay in him getting out the written

14    statement which got to me last week.        I did scan it in and

15    was intending to send it along just like I had done with

16    the letters from Ms. Vasquez and his mother, and I didn't

17    have a chance to do that.      So rather than try to take care

18    of that this morning, we agreed that he could read what he

19    prepared.

20                THE COURT:    He's welcome to, of course.

21                MR. FROST:    And also add anything else that he

22    wanted the Court to know before the Court imposes

23    sentence.    So he will be doing that after I finish my

24    comments.

25                All that I have to say is Mr. Amaral is 34 years
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 1    old today.    As we pointed out in our memo and as

 2    Ms. Chester described in the PSR, Mr. Amaral was not

 3    blessed with the most stable and supportive of childhoods

 4    and home settings.     He had a very difficult childhood.

 5    And it was not something that I think -- I certainly

 6    didn't -- he didn't disclose that right away or talk about

 7    that with me.    He wasn't particularly open about it in the

 8    beginning.    But as we got closer to the time of

 9    presentence interview and certainly at the presentence

10    interview, he was pretty detailed about some of the things

11    that he had gone through as a young man.         And I was taken

12    aback by, frankly, some of what had gone on both with

13    himself and also with his mother, what had happened to her

14    at the hands of the individual that I think created sort

15    of an abusive environment in the home.

16                And it's not -- and again, Mr. Amaral didn't

17    bring this up and make an issue of it directly himself

18    early on.    It's not intended to be an excuse for anything

19    that he's done.    He's done things in his life that he's

20    not proud of and that the Court obviously has to take into

21    consideration.    He's had problems navigating, you know,

22    his life into maturity.      And some of that, as the Court

23    knows, was influenced by his affiliation with gangs.          I

24    think it explains how he ended up there.         Unfortunately,

25    when he was sort of pushed out of his home, he took refuge
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 1    somewhere else.    And the streets sort of became his second

 2    family.    I think -- and as the Court can see, he's sort of

 3    struggled over the years to let the street life go.            That

 4    has been sort of an issue for him.

 5                I think certainly my conversations with him in

 6    this case, he's a very intelligent man.         He does have

 7    insight.    And he speaks about what he went through as a

 8    child and sort of what he was struggling with in terms of

 9    his relationship with people in the gang and on the

10    street.    He does speak about it with insight and

11    intelligence.    Which leads me to believe that he does have

12    it within himself to get passed this.

13                The letter from Ms. Vasquez and in my

14    conversations with her, she shares the same view.            He has

15    it in him, I think, to let this type of life go.             But it's

16    up to him.

17                And he speaks about that, I know, or did speak

18    about it at the end of his presentence interview, that he

19    just wants to live with his wife and his kids.          He has

20    young kids.    He has the opportunity, and apparently when

21    he was home he was an involved father, was helpful, but he

22    has the opportunity to not miss out on a very important

23    period of time in their lives.       And based on what I know

24    of Ms. Vasquez, her work history, what she's dealing with

25    at home without him, it's not easy for her either.
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 1                THE COURT:   Remind me, what kind of work is she

 2    doing?

 3                MR. FROST:   Food service industry was the last

 4    job she had had at a Friendly's.

 5                THE COURT:   Right.    But not employed, I think,

 6    now?

 7                MR. FROST:   At the time of the PSR, I'm not

 8    sure -- I know she's been trying to get a new job.           She's

 9    had a work history.

10                     (Pause.)

11                MR. FROST:   She's still looking for employment

12    at this time.    But she has had work history, and I don't

13    think it's been very easy to do this all on her own.          I

14    think she has some help from her own family.         But

15    certainly having Mr. Amaral in custody is not helping the

16    situation.    And I think he recognizes that.       He has to own

17    that.    But he has what you look for in a situation like

18    this, which is is there hope, is there potential for him

19    to live a mature adult life, a responsible life with a

20    family, with a support network.       He's got one.     But doing

21    this, he's separating himself from that and he's going to

22    continue to fail.     But if he can reconnect with that and

23    see it for what it really is, it's going to make him the

24    happiest and most successful.       If he can do that, stay

25    away from the street, stay out of Connecticut, I know he's
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 1    talked to me about plans to relocate, to get out of

 2    Connecticut I think in part because he's also not

 3    comfortable with what people affiliated with the gang may

 4    think of him.    He wants to get out of Connecticut.         And

 5    there is some family I think that's in Florida.

 6    Ms. Vasquez is still here in Connecticut and doesn't have

 7    any plans to relocate now.      So he is forward-thinking,

 8    starting to think about what can I do to have a real

 9    responsible law-abiding life.       But it's up to him.

10               So the issue here, as the Court well knows, is

11    to balance sort of the way to help him do that, but also

12    there has to be just punishment for what he did do in this

13    case.   And the government has addressed that in its memo.

14    This was a potentially very, very, very serious incident

15    involving guns and an altercation that was violent enough,

16    but could have been a lot worse.       Fortunately, it did not

17    result in anybody being killed.

18               But I think we've tried to explain that -- and I

19    don't know whether the Court has, but I've watched the

20    video, spent time looking through that.         Mr. Amaral was

21    present and is, obviously, as he's admitted, he possessed

22    a gun in anticipation of potentially something happening.

23    But ironically, when the events sort of started to unfold,

24    he didn't pull out his gun and start shooting or anything

25    like that.    He turned around and faced with other
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 1    individuals who were there, they drew and started

 2    shooting.    And Mr. Amaral, who was a short distance from

 3    one of the victims, actually throws his hands up at one

 4    point and turns around and runs, ends up getting shot, but

 5    I think those facts sort of mitigate it to some extent.

 6    This is not something where he was bringing a gun, drawing

 7    it, pistol whipping, doing something that would be --

 8                THE COURT:   He says he got the gun from another.

 9                MR. FROST:   Correct.    He essentially just had

10    the gun on him.    There is a brief moment I think later as

11    he's running back across the street, down the street to

12    take refuge behind a car that it looks like a pistol may

13    be visible and hands it off to another co-defendant.          But

14    certainly he's not similar to some of the other

15    individuals in this particular confrontation who actually

16    were drawing weapons and discharging them.

17                But the problem with, and the reason why the

18    government prosecutes these cases is that there's always

19    the potential for that when guns are present and you bring

20    guns with you when you're not allowed to possess them.

21    Particularly when it's in relation to, as the government

22    has pointed out, illegal activity, something related to

23    drugs.

24                So, you know, the crime is a serious crime.           But

25    I think there are some facts and circumstances about
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 1    Mr. Amaral's role in it that make it somewhat less serious

 2    in terms of what the Court needs to consider as far as

 3    just punishment.

 4               The Court has already addressed the issue of the

 5    guidelines, so I won't revisit that.

 6               As far as the other two things I would say about

 7    the statutory factors which we address in our memo is,

 8    number one, the longest -- and this is in the PSR as

 9    well -- the longest period of continuous incarceration

10    that Mr. Amaral has had in his life is 24 months.            It's a

11    little bit on an installment plan, I suppose.

12               THE COURT:    There's been something like 135

13    months.

14               MR. FROST:    There's been other periods of time,

15    violations of probation and other things.         But the longest

16    period of time that he's been incarcerated continuously is

17    24 months.    So if the Court sentences within the range of

18    the 70 to 87 months, that sentence would be, by a factor

19    of two and almost three, greater than what he's ever done

20    in one long stretch of time.       That's a lot of time to

21    think and reflect upon what you're going to do when you

22    get out.   It's a lengthy period of time for anybody to

23    serve in prison.     It sends a serious message about the

24    Court's view and society's view of the conduct that

25    occurred here.    And so -- and in terms of its impact on
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 1    Mr. Amaral, I think it will carry a greater deterrent

 2    impact on him.    That's a really long time.       Especially

 3    when at the times he served some of his other sentences,

 4    he wasn't necessarily -- in some instances wasn't yet a

 5    father, doesn't have sort of that family that's waiting

 6    for him.   So being separated from that for that period of

 7    time and how long it is, that will be significant for him.

 8               The second point I would make is that if the

 9    Court, in trying to gauge where the Court is considering

10    sentencing within that range of 70 to 87 months, where in

11    that range Mr. Amaral should fall, if the Court is

12    thinking of having -- we have obviously asked for the

13    bottom of that range.     But if the Court is thinking of

14    additional punishment because somehow 70 months and the

15    period of supervised release is not sufficiently lengthy

16    enough to accomplish the goals of sentencing, I think what

17    U.S. Supreme Court and what the sentencing case law has

18    said is that the first thing that should be explored there

19    is potentially, well, would more supervised release, which

20    is also punishment, be a better substitute than more jail.

21    And so if the Court is thinking, well, 70 months, I feel

22    like there should be -- and a period of supervised

23    release, I think what the Court should think is 70 months

24    but as long as supervised release is appropriate under

25    this circumstance, which would be five years, for example.
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 1    It could be less, but I think the way that the statute

 2    reads and the way the case law has developed, is that the

 3    Court should consider that because it is punishment.          It's

 4    supervision, there's restrictions on you.         There's also

 5    the possibility that if Mr. Amaral returns to some of

 6    those old ways that he carried out in the past where he

 7    wasn't a model individual on probation, state probation,

 8    these were all state probations, if he returns to that the

 9    Court can impose additional jail time as it can in state

10    court, but that means that whatever sentence, 70, 75, 78,

11    he's going to get time on top of that.        So I think there's

12    a way to structure the sentence that adequately punishes

13    Mr. Amaral for his conduct, addresses society's concerns

14    about what kind of message are we going to send here for

15    what occurred here, deterring him from doing it again,

16    doing it in a way that is not going to result in a

17    sentence that's going to be wildly different than any

18    other defendant in this case or in some other courthouse

19    and gives him sort of at least some structure and a

20    platform to prove to all of us that he's got it this time

21    when he does finish his sentence.

22               And again, as I said at the beginning of my

23    comments, then it's on him.       If he doesn't do that, this

24    cycle will continue.     His family will probably not, you

25    know, know him or his children will not know him the way
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 1    he probably wants them to know him.        And, you know, what

 2    began as a very sad story when he was a child will

 3    continue.    That means that what happened to him as a child

 4    will basically, he won't be able to get free of that, it

 5    will basically carry through to his adult life, and it

 6    will be a tragedy.     So I think he gets that.      I hope he

 7    does.

 8                And so it would be our request, Your Honor, as I

 9    said in the memo, that the Court impose the low end of

10    that 70 to 87 months.     And if the Court is considering

11    additional punishment, to lengthen the period of

12    supervised release.     He obviously can't pay a fine, so we

13    would ask that that not be imposed based on his financial

14    situation.    And impose, obviously as the Court had talked

15    about, some of those special conditions listed in the PSR.

16    I think, as I said, he needs to get his GED.         The fact

17    that he doesn't have one it's hurting him in his BOP

18    designation, it's hurting him I think in life.          He needs

19    to get that under control.      And as I think he's sort of

20    identified, he needs some vocational training.          He made

21    the comment, "I don't want to work in the food industry."

22    Well, you've got to get something to earn that.          You've

23    got to get some skills, you've got to do something that

24    sets you up to do something other than that if that's not

25    what you want to do.     If you want to go into some sort of
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 1    trade, you're going to have to work on that.         So again,

 2    whether he can get some of that in prison or when he's on

 3    supervised release and has some support, there is more

 4    support in the federal system, he can work on those

 5    things.

 6               Finally, I've indicated to him that this

 7    district has some great opportunities and resources for

 8    people like him that may be coming out and looking to get

 9    their feet on the ground.      Reentry Court is one.         Our

10    Probation Office in general is a very good office.            He

11    should use it.    And again, it will be on him.        People

12    aren't going to do it for him.       But that would be our

13    request for a sentence.

14               As far as facility designation, I'll say it now

15    in case I forget to say it at the end of the proceeding is

16    that in the judgment we would request that Mr. Amaral, the

17    way I've scored him out, it does appear that he would be

18    high security, so it would be a USP is my understanding

19    based on the offense and other points that he accumulates

20    under the BOP manual.     So we're requesting USP Allenwood

21    which is in Pennsylvania and would facilitate visitation

22    with his family and children, and so we would request that

23    that be included in the judgment.

24               And with that, I want to give him an opportunity

25    to address the Court.
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 1               THE COURT:    Did you want to say something about

 2    those disciplinary tickets?

 3               MR. FROST:    I am aware of them.      The tickets

 4    that we had flagged were sort of an unusual situation

 5    where I guess Mr. Amaral and Ms. Vasquez had had some

 6    domestic issue in the past.       She was identified as a,

 7    quote/unquote, victim.      And I guess once that gets logged

 8    into the system at the DOC he's not allowed to have any

 9    contact with her.     He was freely having contact by phone a

10    long time later where there were no issues.         And because

11    she was a prohibited person, he got a ticket.          He did

12    appeal that, and that was what he had flagged for me and I

13    indicated to Ms. Chester he appealed that.         Our

14    understanding was that it had been reversed.         But we

15    weren't able to get any more clarity on that.

16               And just so Mr. Amaral appreciates it, there's

17    also other activity mentioned in the Presentence Report

18    which the only thing I can say is he does touch upon or

19    did in his presentence interview that when he was younger

20    and going to -- in the Department of Corrections, he was

21    affiliated with the Latin Kings.       And as a young man at

22    that time I think he actually looked up to the people that

23    he was seeing in those facilities, he was at Northern at

24    one period of time, and I think was in awe, as a young

25    man, wrongly, but at the time he was.        And so some of his
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 1    behavior reflected that, that he was listening to people,

 2    not correctional officers, DOC administration, rules and

 3    regulations, he'd listen to those people.         And I think he

 4    spoke to that during his presentences interview.             He has

 5    some insight on that that that was foolish.

 6               I think the harder question -- and I'll let him

 7    deal with it -- when he finally does come out, you know,

 8    he ends up sort of falling back in the same activity and

 9    because he wants to return to getting involved with drugs,

10    the person who is running the show, so to speak, in that

11    part of Hartford is Mr. Velez.       That's the gatekeeper.

12    That's how you have to, you know, behave.         But if he

13    didn't return to the drug dealing, he probably wouldn't be

14    here today.    He wouldn't be affiliated with Mr. Velez,

15    wouldn't have been asked by Mr. Velez to go with him that

16    day.   So the question he's got to ask himself is why he

17    made that choice.     It's one thing to do these things when

18    you're younger, you're in the facilities and you're in awe

19    of these gang members and everything else.         At some point

20    he's indicated that stopped.       Well, why did he go back to

21    this life?    Which I'll let him address that.

22               THE COURT:    So I wonder if maybe -- and it's

23    fine for Mr. Amaral to address it as well.         The question I

24    have is how does it come about, even after basically he

25    escapes with his life and he's shot, as Mr. Leaming notes
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 1    in the government's memo, he's -- it's not too long before

 2    he certainly is selling fentanyl, the worst of the worst,

 3    really, killing drugs.      And then apparently, according to

 4    the wire intercepts the government has, there's discussion

 5    about him having actually tried to shoot somebody else.

 6    Then it looks like he gets on the wrong side of Mr. Velez.

 7    So I'm interested in knowing a little bit.         So oftentimes

 8    I see folks who come in and I wonder what is it that they

 9    can point to that says that they've turned things around

10    in terms of actually what they've done in some way.          How

11    does getting shot not kind of wake somebody up?          I know

12    that's not the first time he had been shot.         I'm just

13    trying to figure that out.      That's a puzzle for me.

14               MR. FROST:    Your Honor, I would indicate to

15    Mr. Amaral rather than me trying to address, which I'm not

16    really in a position to do, I asked if he'd be comfortable

17    addressing the Court's question, and he's going to address

18    the Court on that.

19               THE DEFENDANT:     I continued to go back where

20    everything started because in my mind that's all I knew.

21               And as far as Velez, I knew Velez for over 17

22    years.   Me and Velez was in a cell in Northern for about

23    four years.    I did two years, came back to jail, he was my

24    cellmate again for another two years.        When I got released

25    from prison, I just felt like I owed him something,
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 1    because I ain't had no family support.        Financially, he

 2    was my support system.      So when I came back to that area,

 3    I just felt like I owed him.       To help his enterprise out,

 4    I guess.   And to help myself out to make a few dollars, to

 5    be honest.

 6               But as far the shooting that the wiretaps said I

 7    was involved in, I never fired a firearm at nobody.            I was

 8    tested, gun powder at the police station.         They didn't

 9    find anything.    I wasn't the shooter that night.           I would

10    just assume, because of the problem I was having with my

11    affiliation with Latin Kings at that moment, that they

12    assumed it was me who fired upon one of them, but it

13    wasn't.

14               You don't mind if I could read this letter?

15               THE COURT:    That would be helpful.

16               Maybe I'll ask you to come up to the lectern if

17    you don't mind.    It's a little easier to read from there,

18    I think.

19               THE DEFENDANT:     Dear Judge Meyer, I'm truly

20    sorry for being part of this indictment.         I take full

21    responsibility for my involvement.        I screwed up by

22    staying in that environment subjecting myself to horrible

23    situations.    I have no one to blame but myself.

24               I promise to take advantage of everything

25    federal prison has to offer.       I will get my GED and pick
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 1    up as much job trades as I can.       I'm going to do whatever

 2    it takes to make my transaction back to the society

 3    easier.   My fiancée okays on moving out of state so we can

 4    start a new life with a better environment.

 5               I'm ashamed and embarrassed that I put myself in

 6    a predicament where I can't be a father to my children.

 7    All I can say is that it won't ever happen again.            Nothing

 8    means more to me than being a father.        I'm a good person

 9    with a good heart who made a horrible choice by being

10    there when this incident took place which I regret every

11    day.

12               Thank you for taking your time out of your day

13    to read my letter.     Once again, I'm truly sorry for my

14    actions and for being part of this indictment.

15               THE COURT:    Thank you, Mr. Amaral.

16               A couple of questions for you.

17               Prison, what's prison like?       You've been there

18    so long, you've been so many places, Northern, Cheshire.

19    What's it like?

20               THE DEFENDANT:     It's horrible.     It's just -- I

21    don't want you to take what I say the wrong way, but when

22    you're accustomed to something you know how to adjust it.

23    I've been coming in and out of prison so long that what

24    used to bother me a lot, the routine, it just became

25    secondhand to me.     Just being away from my family is the
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 1    main thing that hurt me.      But like I told my attorney at

 2    that point in time in my life, I felt obligated to my

 3    affiliation because of them -- as me being child at age

 4    13, they took me in.     At that time when I was catching all

 5    those tickets, I wasn't thinking about my life, I wasn't

 6    thinking about myself.      I was thinking about them.       Just

 7    everything was about them at that period.

 8               But at this time in this period of my life I

 9    don't want nothing to do with them.        I don't want to do

10    gang activity anymore.      It's been doing nothing but

11    separating me from my family and taking time out of my

12    life.   I'm getting older now.      I'll be 35 in a few months.

13    I can't continue to subject myself to that behavior.

14               And as far as the ticket history, it's true.

15    All the tickets I was a knucklehead.        I wasn't trying to

16    change at that period.      Like he said, that was the best

17    way to describe it, I was in awe.        I felt like them was

18    guys to look up to.     That's all I knew at that period.

19               As you see now, I have -- besides the situation

20    I caught with the phone with Tanisha Vasquez, I have got

21    no disciplinary reports since being in prison.          And the

22    only reason I caught that one is because DOC passed a

23    policy, it's called once a victim, always a victim no

24    matter if the case was dismissed, no matter if your case

25    was nolle'd, if you contact anybody who was arrested for
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 1    it, you get a disciplinary report.        So she's my only

 2    support system.    Her and the kids is all I have.

 3                THE COURT:   I see.

 4                THE DEFENDANT:    You know, I just felt I kind of

 5    let them down.    They is the reason why I'm changing now.

 6                THE COURT:   So, Mr. Frost mentioned programs

 7    that are available when you're done with the prison

 8    sentence.    One of those is something called the Reentry

 9    Court.    There's one up in Hartford that a different judge

10    runs and does.    I do one here in New Haven.       But I'll tell

11    you, one of the things I hear from the guys oftentimes who

12    have spent more time than you in prison is an absolute

13    conviction that they just never want to go back again.

14    Are you at that point?

15                THE DEFENDANT:    Yes.

16                THE COURT:   They literally come into this

17    courtroom and they talk about how they feel like every day

18    is a good day because no matter what's happened that day,

19    it's nothing compared to what, you know, prison was like.

20    Their worst day out here is better than their best day in

21    prison.

22                THE DEFENDANT:    It's like -- it ain't just me I

23    got to worry about no more.       My daughter is becoming a

24    young woman now.     It's not my life I'm really worried

25    about; it's them.     I want to be there for them through
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 1    high school, middle.     She's becoming a woman, I want to be

 2    there to support them in every way.        I can't be living

 3    this type of life.

 4               THE COURT:    So Mr. Frost started off when he

 5    started talking about you -- and he doesn't say this about

 6    every person who he represents, I've had him in other

 7    cases, he's a great lawyer -- he talked about how you're

 8    very intelligent.     And so I'm trying to understand even

 9    despite the fact that you don't have formal education, you

10    clearly are very bright.      I can tell just by the way

11    you're talking to me now.      What's it take for you to

12    figure out, okay, well, you know, I need to set a real

13    career path here.     You're going to have possibilities

14    actually to do that.     I know you spoke to Ms. Chester, I

15    think, about the possibility of maybe a commercial

16    driver's license or other --

17               THE DEFENDANT:     I just feel like if I really

18    want to change and live a normal life, I have to expose

19    myself to things that's going to keep me out of prison

20    which is job trades, which is financial stability legally.

21    I won't be drug dependent, I won't have to feel like I

22    have to sell these drugs or whatever.        I want to be

23    financially stable legitimate-wise.        I want to have a

24    career.   I want to be a plumber, I want to be HVAC or a

25    trucker, I want to have something that will prevent me
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 1    from putting myself in these predicaments.         I got kids

 2    that's depending on me.      The only way I feel like I won't

 3    fall in my old patterns is if I do everything now to

 4    prevent that from happening with job training and getting

 5    my GED and just not looking back at all.

 6               THE COURT:    I see.

 7               You talked about not working in fast food.         Part

 8    of going back to work might mean you're going to have to

 9    work at a job that you're not crazy about.         It could be a

10    graveyard shift at a warehouse or something.         I'll just

11    tell you, I hear a lot of the guys who, again, who take

12    part in Reentry Court, they have those jobs.         And they

13    want better jobs.     They do.    But they also say it just

14    feels so much better to have 100 bucks from that job even

15    though it's not nearly as much as they had when they were

16    drug dealing.    They feel much better about having that

17    money, as limited as it might be, because it's legit.             And

18    the people around them and their family and their kids

19    actually respect them.      You could have that.

20               THE DEFENDANT:     I want to have that.      I want to

21    just go home and just be able to not worry about coming to

22    prison the next day or whatever I'm doing is going to lead

23    me back to prison.

24               THE COURT:    You could have it if you decide to

25    turn things around and get the job, as hard as it's going
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 1    to be, and stay off the drugs.       Because if you're

 2    self-medicating yourself with that, you'll never make

 3    those right choices.     You've got to know that.       Your two

 4    youngest, especially, they don't know you're in prison.

 5    They think you're in school, right?        So, you know, you can

 6    basically really turn this around.        They'll learn at some

 7    point, but the person they know won't be that person who

 8    just lives in prison and cycles in and out of prison.               You

 9    could do much better.

10                THE DEFENDANT:    You're right.     It just seems now

11    that stuff I used to be proud of back when I was a kid I'm

12    ashamed of now, being in prison, being involved with this

13    stuff.    I never felt that way before.      It's just you could

14    say I woke up.    Third eye opened up, I guess.        And I

15    really started seeing stuff for what it is.         I've been

16    embarrassed and ashamed to be the person I've been these

17    past couple of years.     I'm not proud of that.       There's

18    nothing -- I am ashamed of who I was.

19                THE COURT:   Do you do anything to help other

20    people other than your kids?

21                THE DEFENDANT:    What's that?

22                THE COURT:   Do you help other people?

23                THE DEFENDANT:    Yes.   My father before he passed

24    away.    I used to help my father and my grandmother.

25                THE COURT:   Tell me about that.
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 1                THE DEFENDANT:    My father was drug dependent on

 2    heroin for a long period of time.        He had no -- everybody

 3    looked at my father as an outcast.        But he's my father.     I

 4    only got one father, you know.       So I had to be there for

 5    him, financially-wise or emotionally-wise.         My grandmother

 6    as well.    My grandmother took him in.      It was hard for her

 7    to keep up with the bills.       It was hard for her to deal

 8    with his drug addictions.      And I sometimes just go over

 9    there and drink a cup of coffee with her and just talk to

10    her.    I understand it's hard to see her son go through

11    that.    I was telling her she's not alone, he's my father,

12    I understand her pain.

13                THE COURT:   Good.

14                So I'm going to impose a sentence of

15    imprisonment today and there's going to be conditions on

16    that.    I've already talked about some of them.        You'll

17    have time, as Mr. Frost stated, more time to think about,

18    okay, what's going on.      What did I do wrong?     How did I

19    screw up?    How have I screw up so many times in the past?

20    Then you'll have time to think about, what's going to be

21    different?    How am I going to be different in the future?

22                Mr. Frost would tell you that when you come out

23    and you start on conditions and you're tested for drugs,

24    what can happen is if you have positive drug tests or what

25    would happen if you have positive drug tests or if you're
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 1    getting arrested for other stuff or basically being in the

 2    wrong car with the wrong person, stuff that happens, you'd

 3    be back here.    The probation officer, probably not

 4    Ms. Nagy, it would be another probation officer, they make

 5    an immediate report to the Court.        And when I look at

 6    those, when I see somebody who has something about guns,

 7    in other words, somebody who is kind of at the risk of

 8    ever having a gun, I really err on the side of nipping in

 9    the bud and putting the person back in jail.         Because it

10    just tells me, oh, my goodness, the person is not learning

11    their lesson.    They think they can violate little

12    conditions.

13               You know, in 2016, you were in the halfway house

14    and you had an escape.      So if you had that kind of

15    mentality -- and you've had this, you've cycled in and out

16    of probation, violations and all that.        And what's changed

17    is you're older now.     But I have to tell you whatever term

18    of imprisonment I impose, you're going to be back on

19    conditions, it's going to be for several years.          You've

20    got to decide what you're going to do.        You just need to

21    know if you start messing up again, I've got to protect

22    the community first.

23               THE DEFENDANT:     You're doing the right thing if

24    I go home and decide to take that path.

25               THE COURT:    Hopefully it won't be that way.
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 1    Hopefully I'll run into Mr. Frost and he says, wow, I

 2    heard from Mr. Amaral, he's doing great.         He's got a job

 3    and things are really doing well.        That's hopefully the

 4    news I'd hear.

 5               THE DEFENDANT:     That's the only news.      I'm not

 6    going to subject myself to nothing else.

 7               THE COURT:    Anything else you want me to know?

 8               THE DEFENDANT:     I don't want you to feel like

 9    I'm putting the blame on anybody else.        I understand that

10    my actions was my actions regardless of what.          I take

11    responsibility for just being here.        I'm sorry.

12               THE COURT:    Thank you, sir.

13               Mr. Leaming.

14               MR. LEAMING:     Thank you, Your Honor.

15               There are a number of factors I'd like to talk

16    about I think that are important for the Court's

17    consideration.

18               The first one, what sort of struck me when I

19    read the PSR was how Mr. Amaral described his role in the

20    case or his explanation as to how he became involved in

21    the April 2017 shooting.      And I think that's important

22    because how a defendant or an accused sees the conduct

23    with which he's charged I think is significant in sort of

24    predicting how serious he views it and the potential for

25    successful rehabilitation.      He stated that he was not
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 1    going to commit a violent crime when he went to Barker and

 2    Franklin Avenue that day and describes himself as

 3    lingering as if he didn't really want to be there, that he

 4    was somehow under the undue influence of Mr. Velez.

 5    There's a couple facts that I think would be helpful for

 6    the Court to sort of put in perspective.

 7                When Mr. Velez called Mr. Amaral that day

 8    because they had a problem, Mr. Amaral was willing to go.

 9    When Mr. Amaral got in the car, he was told what they were

10    going to do, which was they were going to take this drug

11    dealer off the corner.      And Mr. Amaral was willing to do

12    that.    Mr. Velez gave Mr. Amaral a gun.       And Mr. Amaral

13    was willing to take it.      And I got some sense that maybe

14    it wasn't so -- maybe somewhat less serious because he

15    didn't himself bring a gun, but I look at it as of all of

16    the five people that were there, Velez gave Amaral the

17    gun.    He didn't give it to the guy who he thought would

18    linger or hide out in the car or the person he thought

19    would be reluctant to use it if called upon.         They're

20    going to a street corner in the middle of the day to

21    intimidate another drug dealer, and he gave this man a

22    gun.    Because he could trust him.      Because he knew that if

23    that gun needed to be used, Mr. Amaral would use it.           That

24    if it came to that point, certainly Mr. Velez didn't

25    hesitate as to who should have the gun: it was Mr. Amaral.
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 1                Mr. Amaral described how he never pulled out the

 2    gun, he didn't pistol whip anybody, he didn't shoot

 3    anybody.    I want to give the Court a little bit of

 4    perspective of what is actually going on on that street

 5    corner.

 6                The initial confrontation was only with

 7    Victim 1.    Victim 1 was the one who was selling drugs.

 8    And Victim 1 was initially confronted by two unidentified

 9    men who said you can't be out there.        And Victim 1

10    basically told them go pound sand, I can do whatever I

11    want.   That resulted in Mr. Velez and the rest of the crew

12    coming.    What Mr. Velez and Mr. Amaral didn't know was

13    that Victim 1 had called Victim 2 and said I might have a

14    problem out here, and that Victim 2 had a gun.          And he had

15    a pistol permit to carry that gun.

16                And so Mr. Amaral, Mr. Velez, Mr. Claudio all

17    come out to the block, they're not worried about anybody

18    but Victim 1.    They don't know there's another man there

19    who presents a potential threat to them.         And so, as

20    described in the sentencing memo, that the focus is on

21    Victim 1.    And at one point all five men, including

22    Mr. Amaral, have surrounded Victim 1.        And even, by

23    Mr. Amaral's own account, Mr. Claudio takes a gun off of

24    Victim 1.    And it's at that point they believe they

25    certainly have the advantage, there's five against one.
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 1    We know that Mr. Claudio has a gun and we know Mr. Amaral

 2    has a gun.    From their perspective, it's two against zero.

 3                And what happens?     Mr. Cabrera sucker punches

 4    Victim 1.    There's essentially a group attack of Victim 1.

 5    And they chase him across this short paved area in front

 6    of the bodega.    And who is in the front of the pack?

 7    Mr. Amaral.    The man with the gun.      Why Mr. Amaral is

 8    lucky is because he didn't know about Victim 2 who had a

 9    gun, and when he saw this group of men attacking his

10    friend and coming towards him, he shot Mr. Amaral.           That's

11    why he ran.    Because it's true, he was now faced with

12    somebody who had a gun who was literally probably 5 or

13    6 feet away from him.      And he ran.    Taking the gun out and

14    hiding behind a car.

15                THE COURT:   Did he put his hands up as Mr. Frost

16    suggests?

17                MR. LEAMING:    No, I don't view it as that.      He

18    gets shot.    It's not like I surrender.      I think the

19    shot -- there's no moment -- I mean, it's so quick that

20    when Victim 2 pulls out his gun and fires, there's no I'm

21    holding up my hands and then get shot.        I think he's shot

22    and he stumbles, puts himself obviously trying to get out

23    of harm's way.    You can see from the video everybody

24    instantaneously either scatters or dives to the ground.

25                But what we have here is this group of men,
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 1    including Mr. Amaral, have created the circumstance which

 2    caused him to be shot, which could have easily caused

 3    other individuals to be shot.       As I indicated, this is one

 4    of the two main thoroughfares that run through the

 5    South End of Hartford in the middle of the day.          And

 6    they're waging a gun battle.

 7               Now, you can say Mr. Amaral, well, he ran away.

 8    Well, he was shot.     I don't think that means I didn't go

 9    there to think I was going to commit a violent crime.

10    That's exactly why he went there.        That's exactly why

11    Mr. Velez encouraged him, invited him, and said, "You're

12    coming with us, we've got a problem."        The fact that he

13    doesn't see it that way tells the government and me

14    personally that he doesn't get it.        And if he doesn't get

15    it now, I don't think he's going to get it after a few

16    years in federal prison.      Which tells me that there's a

17    strong compelling need to protect the public from

18    Mr. Amaral specifically.

19               And the fact that he has a family that he wants

20    to get back to doesn't diminish that real danger.            Because

21    that family existed in 2017.       That same girlfriend, those

22    kids.   And so that fact doesn't, in the government's view,

23    impact the need to protect the community.

24               I first came to know of Mr. Amaral in 2009.              He

25    was a Latin King.     Then you're 22, you're 23, it's not
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 1    acceptable, but better understandable.        He's committing

 2    these crimes at 32 and 33 after a lifetime of living the

 3    life that he knows is fraught with criminal activity,

 4    violence, drug dealing, the scourge of the community.              But

 5    he spends his entire adult life either living the life of

 6    a Latin King inside or outside of prison.         And here he is

 7    in April of 2017, as I indicated in my sentencing memo and

 8    as the Court indicated in its comments, most individuals,

 9    the vast majority would say I got lucky today, I only got

10    a gunshot in the leg.     Mr. Claudio everybody thought was

11    going to die.    He was in a coma for three months.          I had

12    to think that Mr. Amaral thought that that could be me.

13    You know, Mega is not going to make it out of the

14    hospital, he's going to die there.        And while Claudio is

15    in a coma in a hospital, Mr. Amaral goes right back out to

16    selling drugs.

17               And those wire intercepts, while he can profess

18    I didn't shoot somebody, it's clear that he's in the

19    middle of something he shouldn't be in.

20               Remorse and regret are plentiful in a courtroom

21    the day of sentencing.      Words of remorse and regret are

22    helpful to hear, but they have to be, especially in this

23    instance, viewed sceptically.

24               One of the drug sales that were part of the

25    indictment, he sent his girlfriend to do the drug deal
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 1    while he stood on the corner watching it go down.            He was

 2    on pretrial release from the April shooting when he got

 3    arrested for the felon-in-possession charge.         Those

 4    actions, that conduct says so much more than the words

 5    that "I want to be there for my children.         I don't want to

 6    worry about going back to prison."        Nobody wants to go

 7    back to prison.    It's easy to say those words.        It's much

 8    harder to believe that the life that he's lived and the

 9    decisions that he made can overcome those just because he

10    says he wants to.

11               Deterrence, you can read the Presentence Report.

12    He's not even a good prisoner.       Much has been made about

13    the most or the longest period of actual incarceration is

14    two years.    Okay.   I think we've all realized that those

15    sentences and the cumulative 11 years he's spent in prison

16    have done nothing to protect the community or to deter

17    him.

18               When I look at the case and I say to myself, you

19    know, we're all sort of a product of our own making, but

20    we're required to look at the Sentencing Guidelines ranges

21    as the starting point.      And sometimes it's a really good

22    thing.   Sometimes we get perhaps tethered to it in a way

23    that we shouldn't be.     I agreed in this case that I

24    thought notwithstanding the operation how the 924(c)

25    operated, it was never sort of the intention of the
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 1    parties and it's certainly not my intention to say 130

 2    months was where he should be based upon the conduct and

 3    the other factors that the Court must consider.          But when

 4    I look at the range, I look at the fact that he was on

 5    probation, he's picked up another drug case earlier from

 6    the state, that he's not a bottom-end guy.         His conduct is

 7    not the bottom end.     And we can describe hope and

 8    expectations and belief.      We can say, well, give him a

 9    longer period of supervised release.        I don't know of any

10    judge in this district that looks at supervised release as

11    punishment or as a substitute for punishment.          And I don't

12    even come into court and advocate that that's what it

13    should be.    Supervised release is trying to get the person

14    reintegrated into the community.       It's to rehabilitate

15    him, it's to help him.      It isn't to further punish him.

16    It's to provide him with the resources and the structure

17    that we don't have to send him back to prison.          Not to say

18    we're going to spread it out a little longer so we know we

19    can send you back if we want you to.

20               I've been in enough supervised release

21    violations in the 15 years I've done this to know that the

22    goal isn't to just send a person back to jail when they

23    stumble.   So I don't think we should be looking at

24    supervised release or the conditions as some sort of

25    substitute for what the Court must consider in imposing
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 1    the actual sentence, and in this particular case the

 2    period of imprisonment, protection of the community.

 3    Supervised release does not address the current

 4    protection-of-the-community need that's present here.             It

 5    does not address the need to deter Mr. Amaral, which

 6    clearly nothing has deterred him in the many years in

 7    which he's been in and out of the criminal justice system.

 8               It strikes me that the conduct not just of what

 9    he did on April 28 but what he did after, which isn't

10    incorporated into the Sentencing Guidelines calculation.

11    He doesn't get an enhancement for going back out and

12    selling drugs, going back out there and associating with

13    the Latin Kings.     That's why the bottom end of the range,

14    in the government's view, is not appropriate.          It's not

15    minimally necessary.     A sentence at the high end of the

16    range is minimally necessary.       Because it does reflect the

17    seriousness of the offense.       It does attempt to impose

18    punishment.    It does better protect the community.         And it

19    sends the message I think to Mr. Amaral that you're lucky

20    in more ways than one.      You not only survived that

21    shooting, but the circumstance of the sentence you could

22    be facing now could have been a whole lot worse for you.

23    The State didn't have to nolle their cases.         The State

24    could have said, fine, we're going to go forward.

25               Eighty-seven months, Your Honor, is the
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 1    government's --

 2               THE COURT:    You mentioned the State sending an

 3    email I think in October of 2018.        Can you describe maybe

 4    just what your -- I'm not sure what to make of that.

 5               MR. LEAMING:     And I don't know what to make of

 6    it either.    Attorney Frost and I had a spirited discussion

 7    in a positive way yesterday about that.         And the State had

 8    a pretty good case, right?      They had Mr. Amaral admitting

 9    to the gun, they had recovered the gun, they had another

10    drug case.    The drug case for which he was actually

11    arrested was incorporated into our indictment.          So that

12    wasn't really going to, you know, move the case one way or

13    the other.    But they had him on a violation, he had

14    exposure to significant period of time in addition to the

15    new charges.    So when I had contacted the State's

16    Attorney's Office I just said, look, this is the

17    situation, we're trying to resolve the case, what is your

18    intention regarding your case?       And predicably the

19    question to me is, well, what's he going to get over

20    there?   And I said all I can tell you is what the

21    Sentencing Guidelines is going to be.        And the response

22    was, hey, look, if he gets at least 84 months, we'll nolle

23    our cases.    That was early communications I heard with

24    counsel.

25               When Mr. Amaral ultimately entered his guilty
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 1    plea, I notified the State's Attorney's Office that this

 2    is sort of where we are.      And then I expected them to keep

 3    the case open, frankly.      But they just went ahead and

 4    nolle'd it.    Maybe because it had been on the docket for

 5    so long.   So I don't expect that they're going to do

 6    anything regardless of what the Court does.         But I think

 7    the value there, if it's any value to Your Honor, is that

 8    at least that's how they were viewing the seriousness of

 9    his conduct.    What they thought would be an appropriate

10    disposition for all his cases was a sentence of 84 months

11    or more.   So I don't know what else to say about that.

12    Obviously the Court is not bound by that.

13               THE COURT:    I understand.     I just wanted to have

14    a better understanding of that.

15               MR. LEAMING:     And I think that's all I have.

16               Thank you, Your Honor.

17               THE COURT:    Thank you.

18               Mr. Frost.

19               MR. FROST:    Your Honor, Mr. Leaming just

20    addressed it.    I don't think the Court is inferring this,

21    but I just wanted to make it clear that it wasn't as

22    though I had made some representation to the State to

23    enter the nolles or that I had direct discussions.           I

24    think Mr. Leaming explained it, at one point in time there

25    was a discussion, 84 months was what the State was
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 1    thinking.   Obviously when we ultimately resolved the case

 2    the range was 70 to 87 months.       I've been consistent that

 3    I would ask for the lowest sentence I could accomplish

 4    within reason and wanted the flexibility to at least argue

 5    for the bottom of the range, the 70 to 87 months, just so

 6    the Court understands a little bit more about the dynamic.

 7    It's obviously a benefit to Mr. Amaral.         I think the

 8    government, as I indicated I think in our memo and in

 9    several ways, I think the U.S. Attorney's Office in this

10    case has made what I consider to be the right decisions

11    but they also benefit Mr. Amaral.        There are ways that

12    these cases can go that don't end up where we're just

13    arguing about 70 to 87 months.

14                THE COURT:   Of course.

15                MR. FROST:   In any event, I understand

16    Mr. Leaming's position about his skepticism.         I think you

17    can probably sense that I knew coming in here there was

18    going to be skepticism based on Mr. Amaral's record, and I

19    think Mr. Amaral was prepared to face some skeptics in

20    this courtroom.    The only thing I'll say is, to me the

21    choice for him is is he going to be surviving the rest his

22    life or is he going to be living the rest of his life.

23    The survival instinct is some of the stuff that

24    Mr. Leaming was alluding to, that you narrowly avoid

25    getting killed, you get shot, but you're still in survival
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 1    mode.   You're not thinking about how can I live a

 2    productive life.     So you still navigate and survive.       At

 3    some point that's got to stop.       And so that choice is his.

 4               I think in terms of the sentence, a lot of the

 5    arguments Mr. Leaming is making, they always trend in the

 6    direction of longest sentence possible.         You know, protect

 7    the public, longest sentence possible.        But that's not

 8    what the sentencing statute says.        It's only one factor,

 9    protecting the public.      Retribution is not the sole or

10    just pure punishment is not what the sentencing statute

11    speaks to.    It speaks to other things as well.

12               On the issue of supervised release, sitting

13    where I am and all the discussions I've had in state court

14    and federal court with clients, they would much prefer

15    flat time to a split sentence in state court with

16    something hanging over your head and a probation officer

17    in your house and calling you and testing you and all of

18    that.   Same goes for supervised release.        I can't tell you

19    how many times I have clients, "I want flat time."           The

20    State knows it's much more difficult to have a split

21    sentence or to have supervised release and have a

22    Judge Meyer up in your grill wondering what's going on,

23    what are the reports that we're getting, is this person

24    testing clean, are they getting a job.        If the defendant

25    wants to return to the life, that's not what they want.
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 1    Flat time, they roll out and go right back into what

 2    you're doing.    That's easier.     So I do disagree with that.

 3    And I think that's why it's sort of -- it cuts both ways.

 4    It's more punishment.     In one sense, I'm a defense lawyer

 5    asking for something my client doesn't want.         But I also

 6    recognize that ultimately it's the way in which you can

 7    sort of get somebody into a place where they will succeed.

 8    Because to drop them on a street corner after prison isn't

 9    going to do it.    I think supervised release is a valuable

10    tool.   It is punishment, at least from the perspective of

11    most of my clients, including Mr. Amaral.         To the extent

12    the Court is leaning one way or the other, I think more

13    supervised release would be good for a person like

14    Mr. Amaral.

15               That's all I have.

16               THE COURT:    Thank you.

17               I appreciate the perspective of all parties.

18    I'm going to turn to the imposition of sentence at this

19    time.   You don't need to stand at this point.

20               I want to talk to you a bit, Mr. Amaral, about

21    what I have considered.

22               Under the law, I'm required to of course

23    consider what you did wrong to bring you into court, what

24    you've done wrong on many other occasions to bring you

25    into court.    I have to think about the rest of your life
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 1    in terms of the challenges that you've had that I've heard

 2    about from the Presentence Report, your family that you

 3    have, the support that you've had.

 4                I have to think about -- and you've heard the

 5    attorneys talking a lot about the purposes of a criminal

 6    sentence.    And one of them certainly is just punishment

 7    and what promotes respect for the law, reflects the

 8    seriousness of doing something like having a gun in broad

 9    daylight, basically a gun battle.        I have to think about

10    deterring, discouraging you, in other words, from going

11    back to this again.     You heard Mr. Leaming talk about, and

12    I share the concern, about the fact that you could go

13    back, based on your track record, and do more of this

14    again.   To some extent I have to be concerned about

15    thinking about what others might do.        That's lesser in my

16    mind, but still I'm required to think about that.            I have

17    to think about what the law calls rehabilitation,

18    basically what we've already talked about in terms of

19    making sure that you have the support that encourages you

20    to make better decisions than you've done by vocational

21    training or substance abuse, mental health counseling if

22    it were something you wanted.       I have to avoid any kind of

23    unwarranted differences that you might receive than those

24    in similar circumstances as you would receive.

25                Basically, I've got to think about everything
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 1    that I know and I've learned about you and to decide on a

 2    sentence that's fair and just and reasonable, also, as

 3    Mr. Frost has reminded me, one that's not greater than

 4    necessary to serve the purposes I just talked about of

 5    sentencing.

 6               So for you, you know the concerns here.           It's a

 7    long and sorry record of drugs or guns and other things

 8    that are littered throughout your conviction record and

 9    the cycle of doing it kind of heedlessly, the fact that

10    you're on probation or release terms.        The fact that

11    you've had a history -- I'm glad to see that it seems like

12    in the last year and a half in state custody you've done

13    better on the disciplinary side.       Before that, boy, you

14    were racking up the disciplinary tickets.

15               I am discouraged by the fact that you have done

16    quite little to try to get legit employment when you were

17    out.   I mean, there's some instances where you had some

18    for a while.    But you kind of had I think some times where

19    you could have made a fresh start of it and you took maybe

20    the easy way out under the influence of people like Velez.

21               And then the other concern is how it is you

22    decided to do it with the Latin Kings of all organizations

23    that itself has such a reprehensible record of violence

24    and drug dealing.     It's kind of its business model and

25    inspiring, somehow, people to look up to that.          I
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 1    appreciate the fact that you told me you actually looked

 2    up to those type of people at one point in time, no

 3    longer.

 4               I see things on the other side for you that are

 5    in your favor.

 6               I do think that my view of basically your

 7    growing up years, especially the time when you were ten

 8    and later, essentially living in the car, the street stuff

 9    that went on, the stunningly abusive basically stepfather

10    that you had there that essentially pretty much pushed you

11    in the direction of making the kinds of choices you have,

12    almost maybe seeing the Latin Kings as some sort of

13    alternative family, perhaps.       Not to suggest that that was

14    the right choice, but kind of makes it more understandable

15    than if you had had a more normal childhood.

16               I think weighing in your favor as well is you

17    continue to have the support of your family.         Mr. Leaming

18    is absolutely right when he says, oh, you weren't thinking

19    much about your three kids when you were out there in

20    April of 2017 doing Mr. Velez's bidding, taking the gun.

21    And then later on with the drug sales, you weren't

22    thinking about them then.

23               So as I look back at everything I have in front

24    of me, I certainly agree more prison time is fully

25    appropriate.    I don't think, and I agree with Mr. Leaming,
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 1    that you're not, as I think he puts it, a

 2    bottom-of-the-range person, because you're not.          Because

 3    you haven't actually with your specific acts that you've

 4    taken shown a track record.       Not just words.    Your words

 5    do mean something to me, but it's what you actually do in

 6    the harder day-to-day commitment that makes a difference.

 7    I think you can turn that around, but you have not to

 8    date.   So I look at that and that's a strike against you.

 9    And that's why I am not considering a sentence at the very

10    bottom of the Sentencing Guidelines range.

11               A closer question is whether I should impose a

12    sentence at the very top as Mr. Leaming, with quite good

13    reason, suggests I should do.       I've decided not to do

14    that.   I'm going to impose a sentence that's more in the

15    middle.   Because in part what you've talked to me about

16    today in terms of what I understand from what you talked

17    about discounting, as Mr. Leaming wisely tells me to do,

18    to some extent, reliance on just words.         That's part of

19    it.   But I'm also struck by the childhood challenges that

20    you've had here that do make you a bit different than

21    people in different circumstances there.         So I'm going to

22    give you a little bit, a little bit of the benefit of the

23    doubt here.    It would be a shame if I turned out to be

24    wrong, how regrettable if Mr. Leaming comes back and says,

25    Judge, I was right there.      You get to decide if
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 1    Mr. Leaming is absolutely right about that very dark view

 2    of yourself.    But I'm going to give you some benefit of a

 3    doubt and impose a sentence right in the middle of the

 4    Sentencing Guidelines range.

 5                So I'll ask you to stand at this time, sir.

 6                Mr. Joshua Amaral, I'm sentencing you to a term

 7    of 18 months of imprisonment on Count Three of the

 8    indictment and 60 months to be served consecutively on

 9    Count Four of the indictment, and that's with credit from

10    the date that you've been in state custody or starting

11    that sentence effective September 13, 2017.

12                I'm placing you on supervised release for five

13    years.   It's not in the kind of classic custody sense

14    punishment, but you're going to have a probation officer

15    that you're reporting to, especially intensively during

16    the first year or two of that period unless you kind of

17    prove yourself.

18                I'm not imposing a criminal fine because I think

19    you need to save your money and build a career actually

20    that you're very capable of doing.

21                I'll impose a $200 special assessment.

22                Now, we talked about some of the conditions of

23    supervised release before.      They include, of course, the

24    standard conditions under the Sentencing Guidelines

25    5D1.3(c).    They include as well the mandatory conditions.
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 1    Those mandatory conditions are, of course, that you not

 2    commit another federal, state, or local offense; that you

 3    not unlawfully possess a controlled substance, that's even

 4    marijuana; that you refrain from any unlawful use of a

 5    controlled substance and submit to a drug test within 15

 6    days of release and at least two periodic drug tests

 7    thereafter; and that you cooperate in the collection of a

 8    DNA sample to the extent it's required by law.

 9               And I'm also imposing those special conditions

10    that we talked about from Paragraph 121 of the Presentence

11    Report, I adopt those in full.

12               So those are the conditions of supervised

13    release.   I think that's it in terms of the sentence that

14    the Court's imposing.

15               Apart from whether you agree with the sentences,

16    is there any reason why the Court cannot lawfully impose

17    the sentence that I just imposed?

18               MR. LEAMING:     No, Your Honor.

19               MR. FROST:    No, Your Honor.

20               THE COURT:    I will make the designation

21    recommendation to USP Allenwood.

22               MR. FROST:    Thank you, Your Honor.

23               THE COURT:    And the judgment of the Court will

24    be prepared for my approval by the Clerk's Office.

25               You do have the right to appeal under certain
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 1    circumstances, Mr. Amaral.      They may be limited by your

 2    plea agreement.    If you wish to appeal either the

 3    conviction or the sentence in this case, you have to make

 4    sure to do that within the next 14 days.         If you don't

 5    have counsel appointed to represent you for appeal or,

 6    rather, you can't afford counsel to represent you for an

 7    appeal, you'd have counsel appointed to represent you.            Do

 8    you understand that, sir?

 9               THE DEFENDANT:     Yes, Your Honor.

10               THE COURT:    Is there anything else at this time?

11    Dismissal of counts?

12               MR. LEAMING:     Yes.

13               Your Honor, Count 1 should be dismissed as it

14    relates to Mr. Amaral.      And then Counts 6, 18, and 19 may

15    be dismissed.

16               THE COURT:    So dismissed.

17               Anything else?

18               MR. FROST:    No, Your Honor.

19               THE COURT:    Thank you all.

20               Stand in recess.

21                     (Proceedings adjourned at 12:12 p.m.)

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 1

 2                         C E R T I F I C A T E

 3

 4           RE: UNITED STATES OF AMERICA v. JOSHUA AMARAL

 5                            No. 3:18CR90(JAM)

 6

 7

 8               I, Diana Huntington, RDR, CRR, Official Court

 9    Reporter for the United States District Court for the

10    District of Connecticut, do hereby certify that the

11    foregoing pages 1 through 54 are a true and accurate

12    transcription of my shorthand notes taken in the

13    aforementioned matter to the best of my skill and ability.

14

15

16

17

18                                    /s/

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